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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CATHY A. HARRIS, in her personal capacity :
and in her official capacity as Member of the :
Merit Systems Protection Board,               :
                                              :
       Plaintiff,                             :           Civil Action No.:      25-412 (RC)
                                              :
       v.                                     :           Re Document No.:       2
                                              :
SCOTT BESSENT, in his official capacity as :
Secretary of the Treasury, et al.,            :
                                              :
       Defendants.                            :

                                  MEMORANDUM OPINION

           GRANTING PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER

                                      I. INTRODUCTION

       Plaintiff Cathy A. Harris was appointed to the Merit Systems Protection Board (“MSPB”)

on June 1, 2022, to a term set to expire on March 1, 2028. Federal law states that members of

the Merit Systems Protection Board may be removed from office “only for inefficiency, neglect

of duty, or malfeasance in office.” On February 10, 2025, President Donald J. Trump informed

Harris that her position on the MSPB was “terminated, effective immediately” but provided no

reason for Harris’s termination. The following day, Harris filed this lawsuit against President

Trump and several other federal officials (“Defendants”), claiming that her termination violated

federal law. She moves for a temporary restraining order declaring her removal from office to be

unlawful, declaring that she remains a member of the MSPB, and enjoining Defendants from

treating her as having been removed. For the following reasons, the Court grants that motion

while the parties fully brief a motion for a preliminary injunction.
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                                        II. BACKGROUND

                                     A. Statutory Background

        Congress created the Merit Systems Protection Board as a component of the Civil Service

Reform Act of 1978, which “establishes a framework for evaluating personnel actions taken

against federal employees.” Kloeckner v. Solis, 568 U.S. 41, 44 (2012); see also Civil Service

Reform Act of 1978 (“CSRA”), Pub. L. No. 95-454, § 202, 92 Stat. 1111, 1121–25 (1978)

(codified at 5 U.S.C. §§ 1201–05). Congress’s Findings and Statement of Purpose indicate that

“[i]t is the policy of the United States that . . . to provide the people of the United States with a

competent, honest, and productive Federal work force[,] . . . Federal personnel management

should be implemented consistent with merit system principles.” CSRA § 3, 92 Stat. at 1112.

Those merit system principles include, among others, “[r]ecruitment . . . from qualified

individuals” where “selection and advancement [is] determined solely on the basis of relative

ability, knowledge, and skills, after fair and open competition which assures that all receive

equal opportunity.” Id. § 101, 92 Stat. at 1113 (codified at 5 U.S.C. § 2301). Congress

additionally instructed that “[e]mployees should be . . . protected against arbitrary action,

personal favoritism, or coercion for partisan political purposes,” as well as “against reprisal for

the lawful disclosure of information which the employees reasonably believe evidences,” among

other things, violations of law, gross waste of funds, an abuse of authority, or substantial and

specific dangers to public health or safety. Id.

        The CSRA established the MSPB as “an independent agency consisting of three

members” and “charged [it] with protecting the merit system principles and adjudicating

conflicts between federal workers and their employing agencies.” Frazier v. Merit Sys. Prot.

Bd., 672 F.2d 150, 154 (D.C. Cir. 1982); see also CSRA § 101, 92 Stat. at 1114–17 (codified at 5




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U.S.C. § 2302) (establishing prohibited personnel practices, such as employment discrimination,

unlawful political activities, and any other violations of law within the federal civil service). The

Board reviews federal employee appeals of adverse actions “which [are] appealable to the Board

under any law, rule, or regulation,” including those related to removal or suspension for periods

greater than fourteen days. 5 U.S.C. § 7701(a); see also id. § 1204(a)(1). It may order federal

agencies and employees to comply with its decisions and conduct studies “relating to the civil

service” for the President and Congress. 5 U.S.C. § 1204(a)(2), (a)(3). The MSPB also reviews

“rules and regulations of the Office of Personnel Management.” Id. § 1204(a)(4). The MSPB’s

final decisions are generally subject to judicial review. See id. § 7703.

       Members of the MSPB are “appointed by the President, by and with the advice and

consent of the Senate,” and “not more than 2 of [the members] may be adherents of the same

political party.” CSRA § 202 (codified at 5 U.S.C. § 1201). Members of the MSPB are

appointed to seven-year terms that may be extended by up to one year if a successor has not yet

been appointed. Id. (codified at 5 U.S.C. § 1202(a)–(c)). “Any member may be removed by the

President only for inefficiency, neglect of duty, or malfeasance in office.” Id. (codified at 5

U.S.C. § 1202(d)).

                                     B. Factual Background

       President Joseph R. Biden initially nominated Harris to be a member of the MSPB on

June 24, 2021, and renominated her on January 4, 2022. Compl. ¶ 24, ECF No. 1. The Senate

confirmed Harris on May 25, 2022, and she was sworn in on June 1, 2022. Id. Her term expires

on March 1, 2028. Id. The Senate later confirmed Harris as Chairman, and she was sworn in as

Chairman on March 14, 2024. Id. ¶ 25.




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        On February 10, 2025, Harris received an email from Trent Morse, Deputy Assistant to

the President and the Deputy Director of the White House Presidential Personnel Office, which

stated in its entirety:

        On behalf of President Donald J. Trump, I am writing to inform you that your
        position on the Merit Systems Protection Board is terminated, effective
        immediately. Thank you for your service[.]

Ex. A to Compl., ECF No. 1-1; see also Ex. A to Pl.’s Mot. for TRO, ECF No. 2-2. The

communication does not explain the basis for Harris’s termination.

        Harris filed this lawsuit on February 11, 2025, claiming that her firing was ultra vires,

unconstitutional, and a violation of the Administrative Procedure Act. See Compl. ¶¶ 31–37, 40–

41. She seeks relief under the Declaratory Judgment Act, issuance of a writ of mandamus, and

equitable relief. See id. ¶¶ 38–39, 42–46. Harris additionally filed a motion for a temporary

restraining order, see Pl.’s Mot. for TRO, ECF No. 2, which Defendants oppose, see Defs.’

Opp’n to Mot. for TRO (“Defs.’ Opp’n”), ECF No. 6. On February 13, 2025, the Court held a

hearing on the TRO motion.

                                    III. LEGAL STANDARD

        “The purpose of a temporary restraining order is to preserve the status quo for a limited

period of time until the Court has the opportunity to pass on the merits of the demand for a

preliminary injunction.” Barrow v. Graham, 124 F. Supp. 2d 714, 715–16 (D.D.C. 2000) (citing

Warner Bros. Inc. v. Dae Rim Trading, Inc., 877 F.2d 1120, 1125 (2d Cir. 1989)). “An

application for a TRO is analyzed using the same factors applicable to a request for preliminary

injunctive relief.” Scottsdale Cap. Advisors Corp. v. Fin. Indus. Regul. Auth., Inc., 678 F. Supp.

3d 88, 99 (D.D.C. 2023) (citing Gordon v. Holder, 632 F.3d 722, 723–24 (D.C. Cir. 2011)).

        “A preliminary injunction is ‘an extraordinary remedy that may only be awarded upon a

clear showing that the [movant] is entitled to such relief.’” John Doe Co. v. Consumer Fin. Prot.


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Bureau, 849 F.3d 1129, 1131 (D.C. Cir. 2017) (quoting Winter v. Natural Res. Def. Council,

Inc., 555 U.S. 7, 22 (2008)). “A plaintiff seeking a preliminary injunction must establish [1] that

he is likely to succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence

of preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is

in the public interest.” Winter, 555 U.S. at 20. “The last two factors ‘merge when the

Government is the opposing party.’” Guedes v. Bureau of Alcohol, Tobacco, Firearms &

Explosives, 920 F.3d 1, 10 (D.C. Cir. 2019) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).

“Of course, the movant carries the burden of persua[ding]” the Court that these factors merit

preliminary relief, Fla. EB5 Invs., LLC v. Wolf, 443 F. Supp. 3d 7, 11 (D.D.C. 2020) (citing

Cobell v. Norton, 391 F.3d 251, 258 (D.C. Cir. 2004)), and must do so by making a “clear

showing,” Cobell, 391 F.3d at 258. A district court must generally consider and balance each of

these factors in deciding whether to issue a preliminary injunction. See Sherley v. Sebelius, 644

F.3d 388, 392–93 (D.C. Cir. 2011). “A preliminary injunction may be granted based on less

formal procedures and on less extensive evidence than in a trial on the merits.” Cobell, 391 F.3d

at 261.

                                           IV. ANALYSIS

          The Court concludes that Harris has established a strong likelihood of success on the

merits, that irreparable harm is likely to occur in the absence of injunctive relief, and that the

public interest weighs in favor of enjoining Defendants’ actions. Harris has thus carried her

burden to establish that a temporary restraining order is warranted here.

                              A. Likelihood of Success on the Merits

          Harris argues that she is likely to prevail on the merits of her claims based on Supreme

Court precedent and the nature of the MSPB’s powers. See Mem. in Supp. of Pl.’s Mot. for TRO




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(“Pl.’s Mot.”), ECF No. 2-1. Specifically, she argues that Humphrey’s Executor v. United States

and its progeny confirm the constitutionality of the conditions placed on removal of MSPB

members. 295 U.S. 602 (1935); see also Pl.’s Mot. at 5–6. She additionally cites the MSPB’s

limited authority, quasi-legislative functions, need for independence, and accountability to

Congress and the President as reasons for the constitutionality of members’ appointment for a

term of years with specific conditions for removal. See Pl.’s Mot. at 8–10. Defendants argue

that Humphrey’s Executor does not apply because the MSPB exercises executive power—it may

issue orders to federal employees, adjudicate and take final action, and litigate on its own behalf.

See Defs.’ Opp’n at 7. The Court concludes that Harris has demonstrated a likelihood of success

on the merits.

       Humphrey’s Executor appears to dictate the outcome of this case. The Federal Trade

Commission (“FTC”) comprises five members “appointed by the President, by and with the

advice and consent of the Senate,” and “[n]ot more than three of the commissioners shall be

members of the same political party.” Humphrey’s Executor, 295 U.S. at 619–20 (quoting 15

U.S.C. § 41). “Any Commissioner may be removed by the President for inefficiency, neglect of

duty, or malfeasance in office.” Id. (quoting 15 U.S.C. § 41). In Humphrey’s Executor,

President Hoover had appointed William Humphrey as a member of the Federal Trade

Commission, which carried a term of seven years. 295 U.S. at 612. Less than two years later,

President Roosevelt terminated Humphrey over differences of political opinion, stating,

“[e]ffective as of this date you are hereby removed from the office of Commissioner of the

Federal Trade Commission.” Id. at 619. Humphry died several months later, but his estate sued

to recover backpay on the basis that his removal was unlawful. Id. at 612.




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       The Supreme Court confirmed that President Roosevelt’s termination of Humphry was

indeed unlawful. The Court observed that “[t]he statute fixes a term of office, in accordance

with many precedents.” Id. at 623. The Court further explained:

       The commission is to be nonpartisan; and it must, from the very nature of its
       duties, act with entire impartiality. It is charged with the enforcement of no
       policy except the policy of the law. Its duties are neither political nor executive,
       but predominantly quasi judicial and quasi legislative. Like the Interstate
       Commerce Commission, its members are called upon to exercise the trained
       judgment of a body of experts “appointed by law and informed by experience.”

Id. at 624. The Court differentiated FTC members from the postmaster in Myers v. United

States, 272 U.S. 52 (1926) (evaluating statute stating that postmasters “shall hold their offices for

four years unless sooner removed or suspended according to law”). “A postmaster is an

executive officer restricted to the performance of executive functions” and is “charged with no

duty at all related to either the legislative or judicial power.” Id. at 627. The FTC, in contrast,

“acts in part quasi legislatively and in part quasi judicially” rather than exercising traditional

executive powers. Id. at 629. “We think it plain under the Constitution that illimitable power of

removal is not possessed by the President in respect of officers of the character of those just

named,” the Court concluded. Id.

       Two decades later, the Court considered President Eisenhower’s removal of a member of

the War Claims Commission, whom President Truman had appointed and the Senate had

confirmed. See Wiener v. United States, 357 U.S. 349, 350 (1958). Congress charged that

commission with processing “claims for compensating internees, prisoners of war, and religious

organizations . . . who suffered personal injury or property damage at the hands of the enemy in

connection with World War II,” and the commissioners’ terms were limited by the short duration

of the commission’s existence. Id. The Court reasoned that Congress intended to “preclude[]

the President from influencing the Commission in passing on a particular claim,” which meant



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that the President naturally could not “hang . . . the Damocles’ sword of removal” over the

commissioners. Id. at 356. The Court reaffirmed that the President had “no such power” to

“remove a member of an adjudicatory body like the War Claims Commission merely because he

wanted his own appointees on such a Commission.” Id. 1

       The Supreme Court recently recognized the constitutionality of this narrow restriction on

the President’s removal power in Seila Law LLC v. Consumer Financial Protection Bureau, 591

U.S. 197, 215 (2020). Humprey’s Executor, the Court explained, “permitted Congress to give

for-cause removal protections to a multimember body of experts, balanced along partisan lines,

that performed legislative and judicial functions and was said not to exercise any executive

power.” Id. at 216; see also Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477,

483 (2010) (summarizing Humphrey’s Executor as holding that “Congress can, under certain

circumstances, create independent agencies run by principal officers appointed by the President,

whom the President may not remove at will but only for good cause.”).

       This case appears to be on all fours with Humphrey’s Executor. The MSPB is “a

multimember body of experts” that is “balanced along partisan lines.” Seila Law, 591 U.S. at

215. The President will therefore likely have the “opportunity to shape its leadership and thereby




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             The Court once again considered a multi-member body in Mistretta v. United States
when passing on the constitutionality of the United States Sentencing Commission, which
formally resides in the Judiciary. 488 U.S. 361 (1989). The Sentencing Report Act of 1984
empowered the President to appoint commissioners to the Sentencing Commission, with
members “subject to removal by the President ‘only for neglect of duty or malfeasance in office
or for other good cause shown.’” Id. at 368 (quoting 28 U.S.C. § 991(a)). When considering
whether the Act affords the President undue influence over federal judges who served as
commissioners, the Court recognized that “the President’s removal power under the Act is
limited.” Id. at 410. “Such congressional limitation on the President’s removal power, like the
removal provisions upheld in Morrison v. Olson, 487 U.S. 654 (1988), and Humphrey’s Executor
. . . , is specifically crafted to prevent the President from exercising ‘coercive influence’ over
independent agencies.” Id.


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influence its activities.” Id. at 225. The CSRA envisions that the Board “is to be nonpartisan;

and it must, from the very nature of its duties, act with entire impartiality.” Humphrey’s

Executor, 295 U.S. at 624. The CSRA also “fixes a term of office.” Id. at 623. The MSPB’s

duties are “quasi judicial,” id. at 624, in that it conducts preliminary adjudication of federal

employees’ claims, which may then be appealed to the Federal Circuit. See 5 U.S.C.

§§ 1204(a)(1), 7703. Although the MSPB lacks its own rulemaking authority, Congress intended

the agency to aid its legislative goals by regularly transmitting reports to Congress regarding the

Board’s functions. See 5 U.S.C. §§ 1204(l), 1205. It is additionally evident that Congress hoped

to “preclude[] the President from influencing the [Board] in passing on a particular claim.”

Wiener, 357 U.S. at 356.

       The MSPB additionally regulates government activity rather than that of private parties,

limiting the risk that its members can represent any “special threat to individual liberty.” Seila

Law, 591 U.S. at 223; see also Pl.’s Mot. at 8 (emphasizing that “the MSPB does not regulate or

penalize private activity”). Instead, the MSPB primarily enforces merit system principles within

the federal government and responds to prohibited personnel practices, such as employment

discrimination and retaliation against whistleblowers. See 5 U.S.C. § 2302(b). This authority is

fundamentally narrower than that of the FTC, which regulates private conduct. See 15 U.S.C.

§ 45a–55 (defining scope of trade practices regulated by the FTC); id. § 45 (empowering FTC to

regulate commerce); see also Dellinger v. Bessent, No. 25-cv-0385, 2025 WL 471022, at *8

(D.D.C. Feb. 12, 2025), aff’d, No. 25-5028 (D.C. Cir. Feb. 15, 2025) (per curiam) (explaining

that the Office of Special Counsel “is not an agency endowed with the power to articulate,

implement, or enforce policy that affects a broad swath of the American public or its economy”).

The Board also remains politically accountable to Congress and the President through the




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appropriations process in a manner inapplicable to independent agencies with their own funding

sources. See Selia Law, 591 U.S. at 226 (discussing Consumer Financial Protection Bureau’s

“receipt of funds outside the appropriations process”); Collins v. Yellen, 594 U.S. 220, 231

(2021) (observing that “the [Federal Housing Finance Agency] is not funded through the

ordinary appropriations process”).

       Finally, the MSPB’s mission and purpose require independence. See Pl.’s Mot. at 9–10.

In enacting the CSRA, Congress exercised its power to regulate the civil service. See U.S. Civ.

Serv. Comm’n v. Nat’l Ass’n of Letter Carriers, AFL-CIO, 413 U.S. 548, 555 (1973) (“Congress

and the President are responsible for an efficient public service.” (quoting United Pub. Workers

of Am. (C.I.O.) v. Mitchell, 330 U.S. 75, 99 (1947))). It defined certain prohibited personnel

practices, to include discrimination, loyalty oaths, coercion to engage in political activity, and

retaliation against whistleblowers. See 5 U.S.C. § 2302(b)(1)–(3), (8). Direct political control

over the MSPB would have limited effect on the President’s implementation of his policy

agenda. It would instead neuter the CSRA’s statutory scheme by allowing high-ranking

government officials to engage in prohibited practices and then pressure the MSPB into inaction.

The MSPB’s independence is therefore structurally inseparable from the CSRA itself. 2

       Because the MSPB falls within the scope of Humphrey’s Executor, Congress has the

power to specify that members of the MSPB may serve for a term of years, with the President

empowered to remove those members only for inefficiency, neglect of duty, or malfeasance in

office. The President did not indicate that any of these reasons drove his decision to terminate



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          Furthermore, the MSPB’s duties dovetail with United States v. Perkins, in which the
Supreme Court held that Congress may place some limitations on the removal of inferior
officers. 116 U.S. 483, 485 (1886). Denying independence to the Board would undermine these
constitutionally sound limitations on the removal of civil servants.


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Harris. The Court thus concludes that Harris has demonstrated that she is likely to show her

termination as a member of the MSPB was unlawful. 3

                                      B. Irreparable Harm

       Harris asserts that she will suffer irreparable harm because, absent interim relief, she will

be deprived of her “statutory right to function” as a senior government official. Pl.’s Mot. at 10

(quoting Berry v. Reagan, No. 83-3182, 1983 WL 538, at *5 (D.D.C. Nov. 14, 1983), vacated as

moot, 732 F.2d 949 (D.C. Cir. 1983) (per curiam)). She additionally contends that the injury will

be irreparable because her claim to MSPB membership may be frustrated by the appointment of

a successor. Id. at 11. She also argues that denial of emergency relief and confusion about the

status of the MSPB may “deprive Plaintiff and the MSPB of the ‘ability to fulfill [their] mandate’

to federal employees.” Id. (quoting Berry, 1983 WL 538, at *5). Defendants respond that Harris

cannot claim irreparable harm as an employee separated from her position, see Defs.’ Opp’n at

10–11, because the MSPB continues to function with a quorum, see id. at 11–13, and because the

President has not yet nominated a successor, see id. at 13. The Court concludes that Harris has

established irreparable harm in this case.

       To sustain injunctive relief, the threat of irreparable injury must be “likely in the absence

of an injunction,” rather than a mere “possibility.” Winter, 555 U.S. at 22. The injury must be


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         Defendants argue that Harris cannot show entitlement to reinstatement because she has
been removed from office, and “[t]he President cannot be compelled to retain the services of a
principal officer whom the President no longer believes should be entrusted with the exercise of
executive power.” Defs.’ Opp’n at 10. Defendants posit that Harris’s remedy should be limited
to back pay. See id. Sampson v. Murray, 415 U.S. 61 (1974), discussed further below, appears
to cut against this conclusion, as there the Supreme Court did “not wish to be understood as
foreclosing [injunctive] relief in the genuinely extraordinary situation.” Id. at 92 n.68. In
addition, the Court’s job at this stage is to determine whether to issue a temporary restraining
order preserving the “the regime in place” before Defendants issued the termination order while
these issues are fully considered. Huisha-Huisha v. Mayorkas, 27 F.4th 718, 733 (D.C. Cir.
2022).


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truly irreparable: “[m]ere injuries, however substantial, in terms of money, time and energy

necessarily expended in the absence of a[n injunction] are not enough.” Chaplaincy of Full

Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006) (quoting Wisc. Gas Co. v. Fed.

Energy Reg. Comm’n, 758 F.2d 669, 674 (D.C. Cir. 1985) (per curiam)). The “the irreparable

harm analysis . . . assumes, without deciding, that the movant has demonstrated a likelihood that

the non-movant’s conduct violates the law.” Id. at 303.

        In addition, a federal employee seeking an injunction requiring the Government to

employ her during the course of litigation “must make a showing of irreparable injury sufficient

in kind and degree to override” the Government’s traditional autonomy over its internal affairs,

which “cut[s] against the availability of preliminary injunctions in Government personnel cases.”

Sampson v. Murray, 415 U.S. 61, 84 (1974). In Sampson, the Supreme Court considered

whether a probationary employee at the General Services Administration could receive a

temporary restraining order enjoining her dismissal during an administrative appeal to the Civil

Service Commission. Id. at 62–63. The Court concluded that, particularly considering the

Government’s prerogative to manage its employees, the loss of wages and reputation that may be

remedied through further proceedings fell “far short of the type of irreparable injury which is a

necessary predicate to the issuance of a temporary injunction in this type of case.” Id. at 91–92.

The Court nonetheless allowed that a “District Court is not totally without authority to grant

interim injunctive relief to a discharged Government employee,” id. at 63, and that relief may be

appropriate “in the genuinely extraordinary situation,” rather than “in the routine case.” Id. at 92

n.68.

        Harris has established that this case represents a “genuinely extraordinary situation”

meriting injunctive relief for a discharged Government employee. Unlike the probationary




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employee in Sampson, Harris was appointed Chairman of a federal agency and confirmed by the

Senate. 4 See Sampson, 415 U.S. at 80–81. The conditions under which the President may end

her tenure are made plain by federal statute and supported by ninety years of Supreme Court

precedent. See Dellinger, at *10 (finding Sampson’s “analysis” to be “of little utility” in case of

employee terminated despite for-cause removal protections). Sampson additionally relied on

“the well-established rule that the Government has traditionally been granted the widest latitude

in the ‘dispatch of its own internal affairs.’” Sampson, 415 U.S. at 83 (quoting Cafeteria & Rest.

Workers Union, Local 473, A.F.L.-C.I.O. v. McElroy, 367 U.S. 886, 896 (1961)). Yet that

concern is minimized in the context of an action that at this stage appears to be nakedly illegal,

such that the Government’s range of options is necessarily constrained.

       Harris cites Berry v. Reagan, which—although vacated as moot under United States v.

Munsingwear, Inc., 340 U.S. 36, 39 (1950), see 732 F.2d 949—remains instructive here. See

Pl.’s Mot. at 10–11. In that case, Congress established “[t]he Commission on Civil Rights [as] a

temporary, bipartisan agency” to be “composed of six members, appointed by the President, by

and with the advice and consent of the Senate.” Berry, 1983 WL 538, at *1. The commissioners

were to serve for a fixed term set to “expire[] sixty days after submission of [the Commission’s]

final report and recommendations to the President and to Congress.” Id. Three years after their

appointments, President Reagan notified the commissioners of their termination, and they sought

an injunction. Id.




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         Defendants cite numerous cases in which courts have declined to issue injunctive relief
based on “the deprivation of a unique, singular, or high-level position.” Defs.’ Opp’n at 11.
None of these cases involved plaintiffs who enjoyed removal protections enacted by Congress
and signed into law by the President. Courts have found injunctive relief warranted in such
situations. See Berry, 1983 WL 538, at *5; Dellinger, 2025 WL 471022, at *14.


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       The Berry court proceeded through analysis remarkably similar to that here. The court

considered whether the Civil Rights Act of 1957 contained a congressional intent to protect the

commissioners’ independence under Humphrey’s Executor. See id. *2–4. After concluding that

Congress intended the commissioners to serve for the full life of the Commission, the court

moved on to consider irreparable harm. See id. at *4. The court then looked to Sampson to

determine if the commissioners’ injuries “override the factors militating against the issuance of

preliminary relief” in Government personnel actions. Id. at *5. The court concluded that the

injury was irreparable because denial of preliminary relief would have an “obviously disruptive

effect” on “the Commission’s final activities.” Id. “Moreover,” the court continued, “it is not

clear that the President has the power to remove Commissioners at his discretion and that he

should be given the widest latitude to exercise this authority.” Id. In addition, the

commissioners did “not have administrative, statutory, or other relief that is readily available to

many federal employees.” Id. 5 The court then granted the injunction. Id. at *6.

       One Judge in this Circuit recently issued a temporary restraining order under similar

circumstances. See generally Dellinger, 2025 WL 471022. In that case, the President terminated

Special Counsel Hampton Dellinger, who was appointed to a five-year term to the independent

Office of Special Counsel and “may be removed by the President only for inefficiency, neglect

of duty, or malfeasance in office.” Id. at *3 (quoting 5 U.S.C. § 1211(b)). The court concluded

that these for-cause removal conditions were likely constitutional. Id. at *9. Analyzing the

irreparable harm, the court also turned to Sampson and Berry, determining that Dellinger “was

appointed for a fixed term, and he has a statutory mission that his removal has rendered him



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        The parties do not discuss what administrative relief may be available to Harris here, so
the Court does not consider the issue.


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unable to fulfill.” Id. at *11. “[T]he loss of the ability to do what Congress specifically directed

him to do cannot be remediated with anything other than equitable relief.” Id.

       At the motion hearing in this case, Defendants argued that Dellinger is incorrect in part

because the court there conflated the notion of an agency’s statutory right to function with what

they say is “essentially an employment action.” But Berry, Dellinger, Humphrey’s Executor,

and Wiener together make clear that these cases represent far more than grievances over backpay

and routine personnel issues. Like the plaintiffs in Berry and Dellinger, Harris was appointed to

and confirmed as a member of an agency charged with acting with a degree of independence

from the President. By vindicating their rights to occupy those offices, these plaintiffs act as

much in their own interests as those of their agencies’. 6 The Supreme Court in Humphrey’s

Executor and Wiener similarly viewed the plaintiffs before them as vindicating the independence

of their agencies and discussed at length the nature of the President’s power over those agencies

rather than the narrow issue of unpaid salaries. See, e.g., Humphrey’s Executor, 295 U.S. at 629

(discussing the relative authorities of Congress and the President over independent agencies);

Wiener, 357 U.S. at 353–56 (same). The plaintiffs in these cases are not low-ranking staff

members at those agencies, either—Dellinger was appointed to lead the Office of Special

Counsel, and Harris was appointed as one of three members of the MSPB. Striking at the

independence of these officials accrues harm to their offices, as well. See Berry, 1983 WL 538,

at *5 (considering the effect on the federal agency of declining to issue an injunction); English v.

Trump, 279 F. Supp. 3d 307, 335 (D.D.C. 2018) (same).




       6
         Indeed, Harris stands before this Court in her personal and official capacities. See
Compl. at 1; see also Pl.’s Reply at 4–6, ECF No. 7 (discussing harm to Harris in her official
capacity).


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       With this in mind, the irreparable harm in this case becomes clear. Were the President

able to displace independent agency heads from their positions for the length of litigation such as

this, those officials’ independence would shatter. See Pl.’s Mot. at 10 (“Simply put, Congress

reasonably concluded that the MSPB cannot serve as an independent protector of a merit system

if the Members are subject at all times to removal without cause by the President.”); Pl.’s Reply

at 7, ECF No. 7 (“Allowing Ms. Harris’s illegal termination to stand for even a short period

would violate the bipartisan, independent nature of the Board.”). Even if this Court were to

direct Harris’s reinstatement after resolving the merits of her claims—a process that can take

some time—the MSPB’s congressionally mandated independence would be permanently marred

by the threat of renewed removal and delayed reinstatement while litigation proceeds. See

Humphrey’s Executor, 295 U.S. at 629–30 (explaining that the “coercive influence” of the

removal power “threatens the independence of a commission”). Harris would reenter the

position as a Chairman of the MSPB who had just been removed from her role for a significant

length of time, and “the Damocles’ sword of removal by the President,” Wiener, 357 U.S. at 356,

would hang over her and her colleagues. This harm would accrue in the absence of a temporary

restraining order, and the passage of time would both cause this damage and preclude a remedy.

See Wisc. Gas Co., 758 F.2d at 674 (stating that injunctive relief is appropriate when post-hoc

“legal remedies” are “inadqeua[te]”). If there ever were an “extraordinary case[]” meriting

injunctive relief for a Government employee, Sampson, 415 U.S. at 92 n.68, then this would be

it.

       Assuming that the Defendants’ actions are unlawful, see Chaplaincy of Full Gospel

Churches at 303, Harris additionally suffers irreparable harm because she is at present prevented

from chairing the Board following Senate confirmation to that position, see Pl.’s Mot. at 10–11.




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The Berry court reasoned that “deprivation” of the plaintiff commissioners’ “statutory right to

function as Commissioners” following “their unlawful removal from office by the President”

represented irreparable harm. 1983 WL 538, at *5. So too did the Special Counsel in Dellinger

suffer irreparable harm by the inability to fulfill his “statutory mission” to protect employees

from prohibited personnel practices, such that “the loss of the ability to do what Congress

specifically directed him to do cannot be remediated with anything other than equitable relief.”

Dellinger, 2025 WL 471022, at *11. MSPB members are similarly charged with protecting

federal employees from prohibited practices, see 5 U.S.C. § 1204, and subtracting time from

Harris’s congressionally mandated seven-year term prevents her from carrying out the duties

Congress has assigned to her.

       Furthermore, Defendants contend that because Harris has been removed from office and

seeks to return, she can suffer no injury in her capacity as a member of the MSPB. See Defs.’

Opp’ at 10 (arguing that Harris “seek[s] judicial reinstatement to a principal office”); id. at 11

(comparing Harris’s situation to those of government employees lacking tenure protections).

This puts the cart before the horse. First, assuming that the President lacked the power to

terminate Harris without cause, then she rightfully remains a Senate-confirmed member of the

MSPB. See Humphrey’s Executor at 629 (holding that the removal “power does not extend to an

office such as that here involved”). Defendants thus conflate wrongful termination with the lack

of power to effectuate termination—at least without cause. Second, this position fails to

recognize that any later reinstatement of Harris would not restore the state of affairs that existed

prior to her purported termination, given that she would not longer serve as a member of a truly

independent agency.




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       Defendants contend that Harris “cites no injury of a kind that the Supreme Court has

recognized as irreparable in this context.” Def.’s Mot. at 11 (citing Sampson, 415 U.S. at 92 &

n.6). They aver that “court after court in this Circuit and others has concluded that loss of

employment does not constitute irreparable harm.” Id. Indeed, it is “well settled that economic

loss does not, in and of itself, constitute irreparable harm.” Wisc. Gas Co., 758 F.2d at 674. Yet

courts often reach this conclusion based on the notion that a wrongfully discharged employee

may be entitled to back pay. See, e.g., id. (reasoning that “adequate compensatory or other

corrective relief [may] be available at a later date”); Sampson, 415 U.S. at 90; Davenport v. Int’l

Bhd. of Teamsters, AFL-CIO, 166 F.3d 356, 367 (D.C. Cir. 1999); Williams v. Walsh, 619 F.

Supp. 3d 48, 63–64 (D.D.C. 2022). That is not the issue in this case. Harris does not seek

compensatory damages, but rather complains of injury arising from her inability to occupy a

position at an independent agency following her presidential appointment and Senate

confirmation.

       Defendants additionally cite English v. Trump for the notion that “‘any such harm’ to

Plaintiff coming solely from her not functioning as a Member of the MSPB ‘can be remediated

in the ordinary course of this case.’” Defs.’ Opp’n at 12 (quoting English, 279 F. Supp. at 335).

In English, the CFPB Director resigned, he appointed his Deputy to take his place, and an

apparent conflict arose between two statutes governing succession at the agency. English, 279 F.

Supp. at 319. One provision of the Dodd-Frank Act stated that the CFPB Deputy Director would

“serve as acting Director in the absence or unavailability of the Director.” Id. (quoting 12 U.S.C.

§ 5491(b)(5)(B)). The Federal Vacancy Reform Act (“FVRA”), however, also grants the

President the power to appoint acting officers either from within a federal agency or from a

different agency if the official is Senate-confirmed. See id. at 312. The English court




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determined that the two statutes could be read to avoid a conflict, such that the Dodd-Frank Act

provided a default rule that the President may override under the FVRA. Id. at 319. Even

assuming that the Deputy Director were likely to prevail, however, the court found no irreparable

harm because CFPB would continue to operate, and the Deputy Director never functioned as the

CFPB’s acting director. See id. at 334 (distinguishing Berry).

         English does not guide the outcome here for at least three reasons. First, Harris was duly

appointed to her position at the MSPB. In contrast, the Deputy Director in English was not

Senate-confirmed to carry out specific duties and never occupied the position of acting Director.

See id. at 335; see also Dellinger, 2025 WL 471022, at *12. The Deputy Director was instead

denied the opportunity to fill a role in the context of a statutory conflict between the Dodd-Frank

Act and the FVRA, and she was not attempting to preserve the status quo. See English, 279 F.

Supp. at 335; see also Dellinger, 2025 WL 471022, at *12. Second, Harris was terminated from

her Senate-confirmed position without cause, while the Deputy Director was not fired from any

position, much less one from which she could be removed solely for cause. See English, 279 F.

Supp. at 313–15. Finally, Harris’s termination from the MSPB has foreclosed her ability to carry

out the agency’s mission, whereas the Deputy Director remained in place at the CFPB. See id. at

334. 7

         For the foregoing reasons, the Court finds that Harris has demonstrated a likelihood that

she will experience irreparable harm that cannot be remedied by her reinstatement once the

merits have been decided. 8


         7
         The parties additionally appeal to Mackie v. Bush, 809 F. Supp. 144 (D.D.C.), to
support their respective positions. See Pl.’s Mot. at 11; Defs.’ Opp’n at 12–13. Mackie is
inapplicable here for the reasons articulated in Dellinger. See Dellinger, 2025 WL 471022, *11
n.6.
         8
             The Court does not, at present, find the threat of Harris’s replacement to represent


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                         C. Balance of the Equities and Public Interest

       Harris argues that the balance of the equities and public interest weigh in her favor

because the Government’s recent flurry of personnel actions has led to uncertainty that requires

stability at the MSPB. Pl.’s Mot. at 12. Defendants respond that the public interest counsels

against injunctive relief, which would “intru[de] into the President’s authority to exercise ‘all of’

the ‘executive Power’ of the United States.” Defs.’ Opp’n at 13–14.

       Given that federal law limits the conditions under which Harris’s tenure may be

terminated, Supreme Court precedent supports the constitutionality of those conditions, and

Defendants do not argue that those conditions were met here, the Court finds that it is in the

public interest to issue injunctive relief. “[T]here is a substantial public interest ‘in having

governmental agencies abide by the federal laws that govern their existence and operations.’”

League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (quoting

Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). So too is there substantial public

interest in the protections from removal Congress has given to certain members of independent

agencies. Furthermore, the government “cannot suffer harm from an injunction that merely ends

an unlawful practice or reads a statute as required.” R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191

(D.D.C. 2015) (quoting Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013)).

                                        V. CONCLUSION

       For the foregoing reasons, Plaintiff Cathy A. Harris’s Motion for Temporary Restraining

Order is GRANTED; and it is




irreparable injury, as she does not establish that the President is “likely” to nominate a
replacement “in the absence of an injunction.” Winter, 555 U.S. at 22 (emphasis omitted); see
Defs.’ Opp’n at 13 (citing English, 279 F. Supp. 3d at 335).


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          FURTHER ORDERED that from the date of entry of this Court’s Order until the Court

rules on a preliminary injunction, Plaintiff Cathy A. Harris shall continue to serve as Chairman

of the MSPB. Defendants Secretary Scott Bessent, Deputy Director Trent Morse, Director

Sergio Gor, Acting Chairman Henry Kerner, and Director Russell Vought are ENJOINED from

removing Harris from her office or in any way treating her as having been removed, denying or

obstructing Harris’s access to any of the benefits or resources of her office, placing a

replacement in Harris’s position, or otherwise recognizing any other person as a member of the

MSPB in Harris’s position, pending further order of the Court; and it is

          FURTHER ORDERED that Harris shall file any motion for a preliminary injunction on

or before February 23, 2025. Defendants shall file any opposition on or before February 28,

2025. Harris shall file any reply on or before March 2, 2025; and it is

          FURTHER ORDERED that the parties shall appear for a hearing on the motion for

preliminary injunction, if such a motion is filed, on March 3, 2025, at 2:00 p.m., and that the

Court will rule on the preliminary injunction as soon as possible thereafter; and it is

          FURTHER ORDERED that the parties shall meet, confer, and submit a joint status

report, on or before February 19, 2025, informing the Court of their respective positions on

whether consideration of the motion for preliminary injunction should be consolidated with the

merits pursuant to Federal Rule of Civil Procedure 65(a)(2).

          An order consistent with this Memorandum Opinion is separately and contemporaneously

issued.


Dated: February 18, 2025                                            RUDOLPH CONTRERAS
                                                                    United States District Judge




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